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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

USA,                                         )
                                             )
                    Plaintiff,               )                  8:05CR387
                                             )
             v.                              )
                                             )
BILLY DEE SPENCER,                           )                    ORDER
                                             )
                    Defendants.              )
                                             )




       Before the court is a Motion to be Paid Prior Completion of Case [45] filed by
Attorney W. Russell Bowie. Mr. Bowie has recently been appoint district judge for
Douglas County, Nebraska. Good cause being shown, the motion will be granted.

       IT IS ORDERED that the Motion to be Paid Prior Completion of Case [45] is
granted. W. Russell Bowie shall submit his completely CJA 20 voucher to the Federal
Public Defender for payment of services rendered.

       DATED this 13th day of March, 2006.

                                            BY THE COURT:

                                            s/ F. A. Gossett
                                            United States Magistrate Judge
